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                                                                                                    United States District Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                                                                                                        March 30, 2016
                                    IN THE UNITED STATES DISTRICT COURT
                                                                                                      David J. Bradley, Clerk
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

KIPP FLORES ARCHITECTS, LLC                                             §
                                                                        §
                                                                        §
v.                                                                      §   CIVIL ACTION NO. H-14-2702
                                                                        §
MID-CONTINENT CASUALTY CO.                                              §
                                                                        §

 AMENDED ORDER ADOPTING MEMORANDUM AND RECOMMENDATION
         ON CROSS-MOTIONS FOR SUMMARY JUDGMENT

             This court has reviewed the Memorandum and Recommendation of United States

Magistrate Judge Milloy signed on February 29, 2016, and has made a de novo determination

of the recommended disposition. Rule 72(b), Fed. R. Civ. P.; 28 U.S.C. § 636(b)(1)(C);

United States v. Wilson, 864 F.2d 1219 (5th Cir. 1989).                                This court finds that the

Memorandum and Recommendation should be, and is, adopted as this court’s Memorandum

and Order. This court has considered and overruled the objections filed by Kipp Flores

Architects, LLC. The court notes that neither the facts disclosed in the record nor authorities

cited in the briefs Kipp Flores submitted supports his claim that in addition to the

$3,231,084.00 damages he received in the jury trial of his copyright infringement claim

against Hallmark Design, which was in bankruptcy, he is entitled to receive $63,471,000.00

based on a proof of claim filed in the Hallmark Collection bankruptcy case.                                     The

Memorandum and Recommendation of the Magistrate Judge, which this court has adopted,

sets out grounds for that result.


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             This court denies Kipp Flores’s motion for summary judgment (Docket Entry No. 82),

overrules his objections to the Magistrate Judge’s Memorandum and Recommendation

(Docket Entry No. 109), and grants Mid-Continent’s cross-motion for summary judgment

(Docket Entry No. 91). The motion to exclude expert declaration (Docket Entry No. 96) is

denied as moot. The motion to submit additional authority (Docket Entry No. 106), is

granted. Final judgment dismissing this case with prejudice is entered by separate order.

                          SIGNED on March 30, 2016, at Houston, Texas.

                                                                            ______________________________________
                                                                                     Lee H. Rosenthal
                                                                               United States District Judge




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